         Case 1:21-cr-00038-CRC Document 134 Filed 01/09/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                       )
                                    )
v.                                  )               1:21-cr-38
                                    )
BARNETT                             )
____________________________________)


                                    MOTION IN LIMINE

TO THE HONORABLE COURT:


       Defendant, by and through counsel, submits this motion in limine to exclude the

following Government exhibits.


       Government exhibit 115: This exhibits is a montage video that pans back and forth

between the evacuation of the Vice President’s evacuation and assorted camera footage

throughout the Capitol. We do not object to any of the footage by itself, but the footage as a

montage is unfairly prejudicial as it is edited in a manner of a Hollywood movie to create a sense

of tension for the viewer. The Defense simply requests that this montage not be permitted.


       Government exhibit 821: The exhibit portrays the out perimeter of the Capitol which was

in various states of being removed by the time the defendant arrived at the Capitol grounds. The

Government superimposed a dark red line surrounding the perimeter, as if tt was a state border

line on a Rand McNally road atlas, which it most certainly was not. The red line unfairly

prejudices the defendant because it gives the perception of an actual boundary or clearly

“forbidden zone” which would have been obvious to any person approaching, which was not the
         Case 1:21-cr-00038-CRC Document 134 Filed 01/09/23 Page 2 of 2




case. Defense has no objection to the picture, other than the red line and requests that the COurt

order the Government to remove it if it wants to present the exhibit.


                                         CONCLUSION

       For the foregoing reasons, the Government should not be permitted to present the

testimony of Ms. Barnett, and she should be excluded as a witness.


Dated: January 8, 2023
Washington, D.C.

Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify on this 8th day of January 2023, a copy of the foregoing was served upon

            all parties as forwarded through the Electronic Case Filing (ECF) System.


                                     /s/ Jonathan Gross, Esq
                                      Jonathan Gross, Esq.
